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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  DERRICK DAVIS,

                         Petitioner,

                         v.
                                                    Civil Action 05-48 (HHK)
  U.S. PAROLE COMMISSION, et al.,

                         Respondents.



                                        MEMORANDUM

       This matter is before the Court on respondent’s opposition to the petition for a writ of

habeas corpus. By Order of July 7, 2005, petitioner was advised to respond to the opposition by

August 12, 2005, or risk summary dismissal of the petition. Petitioner has neither filed a

response nor sought additional time to do so. He effectively challenges the United States Parole

Commission’s jurisdiction over parole determinations of District of Columbia prisoners.

Petitioner’s claim is without merit for the reasons advanced in respondent’s opposition. See

Respondent’s Opposition to Petitioner’s Motion for a Writ of Habeas Corpus at 3-7. Petitioner

also claims that he is serving a sentence that has expired, but he has not refuted respondent’s

assertion and evidence that he has “overlook[ed]” the forfeiture upon his parole revocation of

credit for time spent on parole. Id. at 8-9. Accordingly, the habeas petition is denied. A separate

Order of dismissal accompanies this Memorandum.

                                              ________s/s____________
                                              Henry H. Kennedy, Jr.
                                              United States District Judge

Date: October 13, 2005
